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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 08-453 LKK
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,               ) STATUS CONFERENCE
10                                       )
          vs.                            ) Court: Hon. Lawrence K. Karlton
11                                       ) Time:   9:15 a.m.
                                         ) Date:   October 14, 2009
12   Dean Tesky, et.al.,                 )
                                         )
13              Defendants.
14

15

16        Defendant Dean Tesky is charged in a two count indictment
17   alleging a conspiracy to manufacture over 100 marijuana plants and the
18   manufacture of over 100 plants in violation 21 U.S.C. § 841(a)(1) and
19   846. A status conference was previously set for August 25, 2009.         The
20   parties are involved in defense investigation, as well as negotiations
21   and all parties request that the current status conference be
22   continued to October 14, 2009, if that date is available with the
23   Court.
24        The parties agree that time should be excluded under 18 U.S.C. §
25   3161(h)(8)(i) for defense preparation and under local code T4.
26

27        ///
28        ///




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 1
     Dated: August 21, 2009            Respectfully submitted,
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 3

 4
                                       __/s/ Shari Rusk___
                                       Shari Rusk
 5                                     Attorney for Defendant
                                       Dean Tesky
 6

 7
                                       /s/ Michael Beckwith
 8                                     Michael Beckwith
                                       Assistant United States Attorney
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11

12                                     ORDER

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14        IT IS SO ORDERED.   The Court finds excludable time through

15   October 14, 2009, based on Local Code T4, giving counsel reasonable

16   time to prepare.

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     DATED: August 24, 2009
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